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                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                           ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                             December 20, 2022
                      FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                               HOUSTON DIVISION

                                                           )
 In re:                                                    )   Chapter 11 (Subchapter V)
                                                           )
 FREE SPEECH SYSTEMS, LLC                                  )   Case No. 22-60043
                                                           )
                   Debtor.                                 )
 __________________________________________                )

           ORDER GRANTING SUBCHAPTER TRUSTEE’S MOTION FOR ENTRY OF
          AN ORDER AUTHORIZING RETENTION OF M3 ADVISORY PARTNERS, LP
               AS FINANCIAL ADVISOR TO THE SUBCHAPTER V TRUSTEE

          CAME ON FOR CONSIDERATION the Motion of the Subchapter V Trustee for Entry of

an Order Authorizing Retention of M3 Advisory Partners, LP as Financial Advisor (“Motion”).

The Court, having considered same, and any response(s) thereto, and found that notice of the

Motion was proper is of the opinion that the Motion should be GRANTED; it is therefore

ORDERED

          1.    The Trustee is authorized to employ and retain M3 Advisory Partners, LP as

Financial Advisors effective as of the October 20, 2022.

          2.    M3 shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with this chapter 11 case in compliance with

§§ 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016, applicable provisions of the

Bankruptcy Local Rules, and any other applicable orders of the Court. Requests for interim

compensation shall be governed by the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Retained Professionals [Docket No. 202].

          3.    M3 is entitled to reimbursement of actual and necessary expenses related to the

Motion.
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         4.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

         5.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         6.     The Trustee is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         7.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


Dated:
          August 02,
          December 20,2019
                       2022
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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